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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                              CASE NO: 18-60053-CR-BLOOM/VALLE

UNITED STATES OF AMERICA,

               Plaintiff,
vs.

DANIEL HUFFMAN,

            Defendant.
_______________________/

                                 NOTICE OF APPEARANCE

       COMES NOW, the JONATHAN S. FRIEDMAN, ESQ., P.A., and files this Notice of

Appearance as Attorney of Record for the Defendant, DANIEL HUFFMAN. This Notice of

Appearance is for trial purposes only.

                                         Respectfully submitted by,


                                         JONATHAN S. FRIEDMAN, P.A.
                                         ATTORNEY FOR DANIEL HUFFMAN
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                                         SUITE 925
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                                         FACSIMILE: (954) 713-2894

                                         /S/ Jonathan S. Friedman_____
                                         JONATHAN S. FRIEDMAN, ESQ.
                                         FLORIDA BAR NUMBER: 973297




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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on March 20, 2018, the undersigned attorney electronically

filed the foregoing document with the Clerk of the Court, AUSA, United States Attorney Office-

Southern District of Florida, and other counsel of record, if any, using CM/ECF and has served

same via U.S. Mail to those counsel(s) or individuals, if any, who are not authorized to receive

electronically Notice of Electronic Filing.



                                                            /S/ Jonathan S. Friedman_______
                                                            JONATHAN S. FRIEDMAN, ESQ.




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